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 1 JenniferFrench                                              (J
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2 Susanvllle,CA 96130                                                                 NCV 17                        c: y , (
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      U N ITED STA TES OF A M ER ICA ,                 Case N o:3:08-CR -0006-LRH -R A M
                    Plaintiff,
 8
            vs.
                                                       M O T IO N TO A M E N D T R A V E L
 9                                                     co Nom o Ns
      DA RIN JERO M E FRENC H ,
10                                                        AND ORDER THEREON
      JEN NIFER LY N N FREN CH
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12
                    D efendants

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             COM ES N O W ,JenniferLynn French, 135 RussellA venuesSusanville,California 96130,
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      ProPerand bringsthefollowing M OTION TO AM END TRAVEL COND ITIONS.
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lp
             O11November150', 2010, JenniferSimonefrom Pre--l-rialServicescontacted Defendant
J.8
      to inform Def-endantthatthereisan additional4thDistrictin California;aDistrictofEastern
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      Californiaexistsalongwith the otherthreedistrictspreviously discussed with Defendant.
20
      Aithough,D efendant's m otion im plies the entire state ofCalifornia tsA ny further travelw ould
21
      besubjecttoPre-rrrialapproval,butDefendantpresentlydoesnotanticipatetravelto
2z
      statesotherthan Nevada t)rCalifornia,''JenniferSim onerequested Defendantfile an
23
      amendmentthatactually statesDistricttt/-ftwî/cr'
                                                     r/Caldbrnia to ensureDefendantm ay travel
21
      freely throughoutthe entire statesofCaliforniaand Nevada.Jelm iferSïm one stated to Defendant
2ë$
      thatPre-TrialServiceswasinsupportofthisamendmentandwouldhaveno objectionsasYour      '

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      Honorrecently approved travelam endrflentscm N ovem ber5,2010 in D ocum entN o.165.
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                                                C O N CLU SIO N
     DefenclantrespectfullyasksthisCourtto granttheam enclcd Eastern California D istrictinto her
     travelconditionsfbr Pre--l-rialclarificationsand to avoid any'possible inadvertentand
5 unintcntionalviolation by Defendant,


     Therefore,Defendantrequests tc/travelfreely in the D istrictsof Northern,Southern,Central
     Eastern Calffornia and the D istrictofNevada.A ny furthertravelw ould require the approvalof

     Pre-TrialServices.


            DATED this 15thday ofN ovem ber, 2010.


                                                                J    iferFrench




            IT IS SO ORD ERED

            DATED
            DATED tthis
                   his 19thday
                            dayof
                                of November, 2010. ,2010.



                                                     _________________________________
                                                     LARRY R. HICKS
                                                 UN ITED STA TES
                                                     UNITED      D ISTRI
                                                             STATES     CT JU DGJUDGE
                                                                      DISTRICT   E



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